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&lt;br&gt;&lt;br&gt;&lt;div align="center"&gt;&lt;b&gt;&lt;font size="+1"&gt;Active Chiropractic, P.C., as Assignee of Ricky Smith, Respondent, &nbsp;

&lt;br&gt;&lt;br&gt;against&lt;br&gt;&lt;br&gt;Allstate Insurance, Appellant. 

&lt;/font&gt;&lt;/b&gt;&lt;/div&gt;&lt;br&gt;&lt;br&gt; 

 

 

&lt;p&gt; 

Abrams, Cohen &amp;amp; Associates, P.C. (Frank Piccininni), for appellant. 

Zara Javakov, P.C. (Zara Javakov and Adam Waknine), for respondent. 

&lt;/p&gt; 

&lt;p&gt;Appeal from an order of the Civil Court of the City of New York, Kings County (Theresa M. Ciccotto, J.), entered March 16, 2016. The order granted plaintiff's motion for summary judgment and implicitly denied defendant's cross motion, in effect, for summary judgment dismissing the complaint.&lt;/p&gt; 

 

 

 

 

&lt;p&gt;ORDERED that the order is reversed, with $30 costs, defendant's answer is deemed amended to assert the affirmative defense of res judicata, plaintiff's motion for summary judgment is denied and defendant's cross motion, in effect, for summary judgment dismissing the complaint is granted.&lt;/p&gt; 

&lt;p&gt;Plaintiff commenced this action on February 8, 2013 to recover assigned, first-party no-fault benefits. Defendant served an answer on March 19, 2013. Thereafter, plaintiff moved for summary judgment, and defendant cross-moved to dismiss the complaint pursuant to CPLR 3211 (a) (5), contending that plaintiff's action was barred by virtue of an order entered on March 14, 2014 in a Supreme Court declaratory judgment action. The Supreme Court order, entered on default, declared that defendant herein was not obligated to provide coverage for no-fault claims arising out of the accident in question, and that plaintiff herein and its assignor were not entitled to reimbursement for services rendered to the assignor with respect to that accident. Plaintiff did not oppose defendant's cross motion in the Civil Court. Defendant appeals from an order of the Civil Court which granted plaintiff's motion and denied defendant's cross motion, finding that &lt;font color="FF0000"&gt;[*2]&lt;/font&gt;defendant had failed to raise the defense of res judicata in its answer. &lt;/p&gt; 

&lt;p&gt;For the reasons stated in &lt;i&gt;Active Chiropractic, P.C., as Assignee of Mary Parrish v Allstate Ins.&lt;/i&gt; (
 [appeal No. 2016-1297 K C], decided herewith), the order is reversed, defendant's answer is deemed amended to assert the affirmative defense of res judicata, plaintiff's motion for summary judgment is denied and defendant's cross motion, in effect, for summary judgment dismissing the complaint is granted.&lt;/p&gt; 

&lt;p&gt;PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.&lt;/p&gt; 

&lt;br&gt;ENTER:&lt;br&gt;Paul Kenny&lt;br&gt;Chief Clerk&lt;br&gt;Decision Date: February 09, 2018 

 

 

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&lt;/div&gt; 

 

 

&lt;/partyblock&gt;


